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 14                        UNITED STATES DISTRICT COURT
 15         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 16
      Edwardo Munoz, individually and on         Case No. 2:18-cv-03893-RGK-AGR
 17   behalf of all others similarly situated,
 18                             Plaintiff,
                                                 MEMORANDUM IN SUPPORT OF
 19          v.                                  PLAINTIFF’S MOTION FOR
                                                 CLASS CERTIFICATION
 20   7-Eleven, Inc., a Texas corporation,
 21                                                Date: October 9, 2018
                                Defendant.
                                                   Time: 9:00 a.m.
 22                                                Judge: Hon. R. Gary Klausner
 23                                                Courtroom: 850
                                                   Complaint Filed: May 9, 2018
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 25
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      PLAINTIFF’S REPLY IN SUPPORT OF
      MOTION FOR CLASS CERTIFICATION
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  1   I.    INTRODUCTION
  2         To hear Defendant 7-Eleven, Inc. (“7-Eleven” or “Defendant”) tell it, the
  3   Court cannot certify a class in this FCRA background check disclosure case for one
  4   central reason: individualized inquiries are supposedly required to determine, for any
  5   given class member, whether the extraneous information packed into 7-Eleven’s
  6   FCRA disclosure was confusing. 7-Eleven claims this fact is needed to demonstrate
  7   Plaintiff Edwardo Munoz’s (“Munoz” or “Plaintiff”) and each class members’
  8   Article III standing and, as such, defeats commonality, typicality, adequacy,
  9   predominance, and superiority.
 10         Fortunately, this attack, which if successful would render FCRA class actions
 11   a nullity, fundamentally misunderstands the law and may be readily rejected. Put
 12   simply, in a class action, “standing is satisfied if at least one named plaintiff meets
 13   the requirements.” Bates v. United Parcel Serv., Inc., 511 F.3d 974, 985 (9th Cir.
 14   2007); accord Ellis v. Costco Wholesale Corp., 657 F.3d 970, 978–79 (9th Cir.
 15   2011); see also Larson v. Trans Union, LLC, 201 F.Supp.3d 1103, 1109 (N.D. Cal
 16   2016). 7-Eleven’s argument in chief ignores this authority and proceeds as if each
 17   individual class member must show through separate proofs that they were
 18   sufficiently confused so as to have standing.
 19         7-Eleven’s ancillary arguments fare no better. 7-Eleven bemoans a lack of
 20   evidence, but discovery has yet to open—the case management conference is set for
 21   October 22, 2018, and the Parties’ Rule 26(f) conference is scheduled for October
 22   10, 20181. Further, Plaintiff attaches the declaration of Plaintiff Edwardo Munoz,
 23   which demonstrates that he has standing and that, contrary to Defendant’s assertions,
 24   he is willing to participate in fact-gathering and other aspects as needed in this case.
 25   (See “Munoz declaration,” a true and accurate copy of which is attached hereto as
 26   Exhibit 1.) 7-Eleven is similarly mistaken in asserting that Munoz is atypical under
 27   1
       Plaintiff served a set of Interrogatories, Requests to Produce, and Requests to
 28   Admit by email on July 3, 2018. 7-Eleven’s counsel has indicated it will discuss a
      date for its response during the Rule 26(f) conference.
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      MOTION FOR CLASS CERTIFICATION              -1-
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  1   Rule 23(b)(2)(3) because he wouldn’t have been hired had he not submitted to the
  2   background check. The harm suffered is an invasion of privacy insofar as 7-Eleven
  3   unlawfully obtained a background check on him, not simply that he wasn’t hired.
  4         Likewise, multiple courts have explained that damages determinations do not
  5   present individualized class member issues so as to defeat predominance under Rule
  6   23(b)(3), and 7-Eleven misunderstands that the prospect of small damages awards
  7   supports classwide relief, not hundreds of individualized lawsuits. Injunctive relief is
  8   also available under the California UCL to California residents.
  9         And perhaps most critically, however, is what 7-Eleven’s Opposition fails to
 10   say. That is, nowhere does 7-Eleven claim that it used various FCRA Disclosures
 11   such that a decision with respect to the lawfulness of Munoz’s disclosure wouldn’t
 12   be relevant to the rest of the Class. 7-Eleven also fails to dispute that its records can
 13   be used to identify applicants and employees about whom it procured such reports.
 14   7-Eleven’s silence on these issues speaks volumes.
 15         The simple truth is that this is a textbook case for certification. A single
 16   proceeding is needed to answer for every Class Member whether 7-Eleven’s
 17   background check disclosure violated the FCRA’s standalone notice provisions. As
 18   such, and as explained further below, the Court should certify the proposed Class
 19   and Subclass or defer its decision pending the completion of discovery.
 20   II.   ARGUMENT
 21         A.     7-Eleven’s complaints regarding a supposed lack of evidence should
 22                be rejected—discovery has yet to commence and Munoz has
 23                provided ample evidence in support of his claims, including now a
 24                declaration to demonstrate his standing.
 25         7-Eleven first argues that Munoz hasn’t met his evidentiary burden because
 26   “the only evidence submitted with the motion is a declaration from Plaintiff’s lawyer
 27   on his own background.” (Opp. 7.) This is inaccurate. First, discovery has yet to
 28   commence, and 7-Eleven has yet to respond to requests served by email in July
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      MOTION FOR CLASS CERTIFICATION              -2-
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  1   2018. It is well-settled that plaintiffs are to be afforded an opportunity to obtain
  2   evidence in support of certification through discovery. See Mantolete v. Bolger, 767
  3   F.2d 1416, 1424 (9th Cir. 1985); see also Kamm v. California City Development
  4   Co., 509 F.2d 205, 210 (9th Cir. 1975); see also Gray v. First Winthrop Corp., 133
  5   F.R.D. 39, 41 (N.D. Cal. 1990) (“An order staying discovery pending class
  6   certification would be unworkable, since plaintiffs must be able to develop facts in
  7   support of their class certification motion.”).2 7-Eleven cannot cite a lack of
  8   evidence prior to discovery.
  9         Second, Plaintiff now attaches the Munoz Declaration, which states clearly
 10   that Munoz would not have agreed to a background check had he not been
 11   overwhelmed and confused as a result of Defendant’s unlawful FCRA disclosure.
 12   (See Munoz Declaration ¶ 8.)
 13         Finally, Munoz has presented other evidence, namely the allegedly unlawful
 14   disclosure and the unrebutted allegation that 7-Eleven used the same disclosure with
 15   respect to all of its applicants and employees. As such, the Court should reject 7-
 16   Eleven’s attempt to defeat certification based on a supposed lack of evidence.
 17         B.     7-Eleven’s attacks on commonality, typicality, adequacy of
 18                representation, and predominance fall apart—again, Munoz has
 19                now submitted a declaration, and Article III standing doesn’t
 20                present individualized questions that must be answered for each
 21                class member.
 22         7-Eleven next attacks certification by claiming there is no commonality (Opp.
 23   8), typicality or adequacy of representation (Opp. 9), predominance (Opp. 11-13), or
 24   superiority or manageability (Opp. 14-15) because, supposedly, “…it is self-evident
 25   that whether or not Plaintiff’s assertion [that he and other class members were
 26
      2
 27     Rule 23 was amended in 2003 to clarify that certification should be decided “at an
      early practicable time” as opposed to “as soon as practicable” following the filing of
 28   the Complaint out of recognition that proponents should be afforded discovery
      regarding class issues.
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  1   confused by 7-Eleven’s FCRA disclosure] is true requires an individualized
  2   inquiry.” (Opp. 8.) 7-Eleven also claims that Munoz hasn’t shown a willingness to
  3   prosecute the case and that he wouldn’t have been hired had he refused to undergo a
  4   background check. (Opp. 9.) As explained below, these arguments fail.
  5                1.    7-Eleven’s repeated assertion that individualized inquiries
  6                      are needed to determine whether each class member was
  7                      actually confused by its FCRA disclosure misunderstands
  8                      standing in class actions.
  9         No matter its framing, 7-Eleven’s oft-repeated argument that individual
 10   inquiries are needed into each class members’ relative level of confusion as a result
 11   of its unlawful FCRA Disclosure, ostensibly to show that every member of the Class
 12   suffered actual legal harm and thus enjoys Article III standing, seriously
 13   misunderstands the law. As the court in Larson v. Trans Union, LLC aptly explained:
 14         Given that Larson continues to have Article III standing to bring this
 15         case despite Spokeo, Trans Union’s challenges to my tentative rulings
 16         on ascertainability, predominance, and superiority also fail. Each of
 17         those challenges is based on Trans Union’s contentions that the class
 18         should not be certified because absent class members lack Article III
 19         standing for the same reasons as Larson, and, similarly, because
 20         individualized determinations will have to be made with respect to the
 21         concreteness of each absent class member’s injury. See Trans Union
 22         Suppl.      Br.     at     12-16      (ascertainability); id. at   17-19
 23         (predominance); id. at 19-20 (superiority). In a class action, however,
 24         “standing is satisfied if at least one named plaintiff meets the
 25         requirements.” (collecting cases). Under this principle, Larson’s
 26         showing of standing for himself is sufficient to establish standing for
 27         the class as a whole See McLaughlin v. Wells Fargo Bank, NA, No.
 28         15–cv–02904–WHA, 2016 WL 3418337, at *6 n. 5 (N.D.Cal. June 22,
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  1         2016) (“[P]laintiff borrower has standing to assert her TILA claim; so
  2         too does the class.”) (on appeal).
  3         Even if this principle did not apply, I am not convinced that
  4         individualized determinations on the concreteness of each absent class
  5         member’s injury would be necessary. Article III standing in this case,
  6         just like Trans Union’s alleged liability under section 1681g(a), is
  7         predicated on the character of the allegedly misleading information in
  8         the credit reports disseminated to Larson and absent class members,
  9         not on Larson’s or absent class members' subjective interpretation of
 10         that information. See Prior Order at 16-19 (rejecting Trans Union’s
 11         argument that class certification is inappropriate because the case will
 12         “require individualized inquiries into whether each class member
 13         actually read the relevant portion of his or her file disclosure, and
 14         whether he or she was actually confused by it”).
 15   201 F.Supp.3d 1103, 1109 (N.D. Cal 2016).
 16         This makes sense. If 7-Eleven’s “self-evident” theory was accepted, no FCRA
 17   class action based on allegedly faulty disclosures could ever be certified because in
 18   every case individualized inquiries would be needed regarding whether each class
 19   member was actually confused. There is little basis for concluding Congress ever
 20   intended to bar FCRA class actions (nothing in the statute indicates they are
 21   prohibited). And of course, such FCRA actions are routinely certified where, like
 22   here, they present uniform, common questions regarding the legality of the
 23   defendant’s FCRA disclosure. See, e.g., Hargrett v. Amazon.com DEDC LLC, 235
 24   F.Supp.3d 1320, 1326-27 (M.D. Fla. 2017); see also Fosbrink v. Area Wide
 25   Protective, Inc., 325 F.R.D. 474, 479 (M.D. Fla. 2018); see also Thomas v. FTS
 26   USA, LLC, 312 F.R.D. 407, 412 (E.D. Va. 2016).
 27         Hence, 7-Eleven’s central argument fails. There is no need, per well-
 28   established authority, for the Court to engage in individualized inquiries into whether
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  1   each Class Member was or wasn’t confused by 7-Eleven’s disclosure. As such, its
  2   house of cards, built on the shakiest of foundations, falls apart.
  3                2.     7-Eleven’s residual attacks on Munoz’s adequacy and
  4                       typicality fail—Munoz has shown a willingness to pursue this
  5                       litigation and, like every other Class Member, 7-Eleven
  6                       unlawfully obtained a consumer report about him.
  7         7-Eleven also claims that Munoz is not a typical or an adequate representative
  8   because he hasn’t submitted a declaration in support of his Motion. (Opp. 9-10.) The
  9   attached Munoz Declaration, and the fact that discovery has yet to commence,
 10   undercut such assertions. Munoz has shown his willingness to prosecute the case.
 11         7-Eleven additionally asserts that because it is company policy to not hire
 12   anyone who refuses to consent to a background check, Munoz cannot show
 13   typicality. This is supposedly because as someone who claims he wouldn’t have
 14   consented to the disclosure had it been compliant with the law, Munoz would’ve
 15   purportedly suffered the same harm that 7-Eleven claims he suffered in this case—
 16   not being hired. According to 7-Eleven, the Ninth Circuit recently explained in
 17   Dutta v. State Farm Mut. Auto Ins. Co., 895 F.3d 1166, 1175-76 (9th Cir. 2018), that
 18   if the plaintiff’s harm would’ve resulted even if the defendant had acted in the
 19   manner plaintiff claims the defendant should have acted, then the plaintiff cannot
 20   show legal harm. (Opp. 10.) 7-Eleven misconstrues the harm suffered by Munoz,
 21   and its reliance on Dutta is misplaced. In Dutta, the claim was based on inaccuracies
 22   in the plaintiff’s consumer report. See id3. However, the court, finding that defendant
 23   took adverse action based on separate, accurate information in the report, held that
 24   no concrete injury was established because the inaccurate information had no effect
 25   on the decision. See id. This is in stark contrast to the present case. Here, 7-Eleven
 26   procured a consumer report that it had no authority to procure. As a result, sensitive
 27   3
       Dutta involves a separate provision of the FCRA, § 1681b(b)(3)(A), the adverse
 28   action provision. 895 F.3d at 1175-1176. Munoz does not allege a violation of this
      provision.
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  1   information was unlawfully in Defendant’s possession. This is a violation of
  2   Munoz’s privacy rights as embodied in the FCRA and is the harm suffered—not the
  3   fact that Munoz wasn’t hired. Furthermore, unlike Dutta, had a clear disclosure been
  4   presented the result would have been different because Munoz would not have
  5   authorized 7-Eleven to procure the report. (Munoz Decl. ¶ 8.)
  6         As such, Defendant’s back-up attacks on typicality and adequacy fail as well.
  7         C.     7-Eleven also misunderstands the law on damages (differing
  8                amounts do not defeat predominance) and superiority—the
  9                prospect of small awards actually favors certification.
 10         Defendant next argues that differences in each class members’ damages
 11   calculation creates individualized issues that defeat predominance. (Opp. at 13-14.)
 12   This also misstates the law. “[T]he presence of individualized damages cannot, by
 13   itself, defeat class certification under Rule 23(b)(3).” Leyva v. Medline Industries
 14   Inc., 716 F.3d 510, 514 (9th Cir. 2013); see also Vaquero v. Ashley Furniture
 15   Industries, Inc., 824 F.3d 1150, 1155 (9th Cir. 2016) (“[T]he ‘amount of damages is
 16   invariably an individual question and does not defeat class action treatment.’”).
 17   What matters to the damages inquiry is that the damages stemmed from the same
 18   conduct. See Leyva, 716 F.3d 514 (“[P]laintiffs must be able to show that their
 19   damages stemmed from the defendant's actions that created the legal liability.”).
 20         Here, the Class Members were all damaged by the exact same course of
 21   conduct: 7-Eleven’s unlawful procurement of consumer reports. More importantly,
 22   given that all class members suffered the same injury—an invasion of privacy—
 23   there is no evidence of any extreme variance of damages at all. As such, individual
 24   damages questions don’t defeat Rule 23(b)(3) predominance.
 25         Similarly, small damages don’t defeat superiority either. That is, 7-Eleven
 26   asserts that a class action would not be superior because the FCRA provides for
 27   awards of attorney’s fees. (Opp. at 14-16.) But this has it backwards:
 28
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  1         Within the specific context of the FCRA, federal courts have regularly
  2         recognized the superiority of class litigation in suits for statutory
  3         damages:
  4                [I]ndividual losses, if any, are likely to be small-a modest
  5                concern about privacy, a slight chance that information
  6                would leak out and lead to identity theft. That actual loss
  7                is small and hard to quantify is why statutes such as the
  8                Fair Credit Reporting Act provide for modest [statutory]
  9                damages without proof of injury.
 10                Rule 23(b)(3) was designed for situations such as this
 11                [FCRA claim], in which the potential recovery is too
 12                slight to support individual suits, but injury is substantial
 13                in the aggregate.... The practical alternative to class
 14                litigation is punitive damages, not a fusillade of small-
 15                stakes claims.
 16   Holloway v. Full Spectrum Lending, No. CV 06-5975 DOC (RNBx), 2007 WL
 17   7698843, at *9 (C.D. Cal. June 26, 2007); see also Tchoboian v. Parking Concepts,
 18   Inc., No. SACV 09-422 JVS (ANx), 2009 WL 2169883, at *9 (C.D. Cal. July 16,
 19   2009) (“The Court is not convinced that the fact that an individual plaintiff can
 20   recover attorney’s fees in addition to statutory damages of up to $1,000 will result in
 21   enforcement of the FCRA by individual actions of a scale comparable to the
 22   potential enforcement by way of class action.”); see also Reynoso v. South County
 23   Concepts, No. SACV07-373-JVS(RCx), 2007 WL 4592119, at *6 (C.D. Cal. Oct.
 24   15, 2007) (same).
 25         Accordingly, the Court should reject 7-Eleven’s attack based on the
 26   availability for individual damages awards and legal fees.
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   1          D.     Munoz and others may seek to reapply at 7-Eleven, and 7-Eleven
   2                 hasn’t shown that it now uses background check disclosures that
   3                 comply with the FCRA.
   4          7-Eleven also contends that Munoz and the Subclass cannot meet the standard
   5   for Rule 23(b)(2) certification because they cannot demonstrate a likelihood of
   6   future injury. (Opp. at 16-17.) This is inaccurate. Plaintiff seeks a declaration that
   7   Defendant’s process of procuring consumer reports violates the FCRA and an
   8   injunction requiring 7-Eleven to end these practices. Notably, 7-Eleven’s disclosure
   9   does not purport to grant authority on a one-time basis. Instead, it provides a blanket
  10   authorization for 7-Eleven to continue pulling consumer reports. As such, Subclass
  11   members are solely at the mercy of 7-Eleven regarding if future reports will be
  12   procured from the Disclosure. Accordingly, there is a chance of recurrence, and 7-
  13   Eleven should be barred by this Court, with respect to every class member, from
  14   procuring additional reports absent its providing of lawful disclosures. As such, 7-
  15   Eleven’s objections to certification under Rule 23(b)(2) fail as well.
  16          E.     7-Eleven fails to dispute that it used the same disclosure for every
  17                 Class Member thus rendering appropriate a single adjudication of
  18                 its lawfulness.
  19          As a final point, 7-Eleven fails to contest Munoz’s central contentions on
  20   certification: first, that it used an identical disclosure across all of its locations and,
  21   second, that its records can be used to identify class members. With respect to form
  22   contracts and disclosures, “the court will, whenever reasonable, interpret the
  23   agreement ‘as treating alike all those similarly situated, without regard to their
  24   knowledge or understanding of the standard terms of the writing’ in order to
  25   ‘effectuate the reasonable expectations of the average member of the public who
  26   accepts it.’” Ellsworth v. U.S. Bank, N.A., No. C 12-02506 LB, 2014 WL 2734953,
  27   at *22 (N.D. Cal. June 13, 2014). Indeed, courts routinely certify class actions where
  28   form disclosures or contracts are at issue. See In re Medical Capital Securities
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   1   Litigation, No. SAML 10-2145 DOC (RNBx), 2011 WL 5067208, at *3 (C.D. Cal.
   2   July 26, 2011) (“Courts routinely certify class actions involving breaches of form
   3   contracts.”) (collecting cases); see also Haroco, Inc. v. Am. Nat. Bank & Trust Co. of
   4   Chicago, 121 F.R.D. 664, 669 (N.D. Ill. 1988) (cases that call for the interpretation
   5   of a form contract tend “to present the classic case for treatment as a class action.”);
   6   see also Menagerie Prods. v. Citysearch, No. CV 08-4263, 2009 WL 3770668, at
   7   *10 (C.D. Cal. Nov. 9, 2009) (“When viewed in light of Rule 23, claims arising
   8   from interpretations of a form contract appear to present the classic case for
   9   treatment as a class action, and breach of contract cases are routinely certified as
  10   such.”).
  11          Likewise, nowhere has 7-Eleven contested Munoz’s claim that its records may
  12   be used to identify Class Members. Discovery will confirm what already appears to
  13   be the case: that 7-Eleven procured background checks on all (or nearly all) of its
  14   applicants and employees and that it has records demonstrating as much.
  15          As such, the Court should have little trouble certifying the proposed Class and
  16   Subclass here.
  17   III.   CONCLUSION
  18          The proposed Class and Subclass meet all of the requirements for certification
  19   under Rule 23. Plaintiff therefore respectfully requests that the Court grant his
  20   motion for class certification.
  21
                                               Respectfully submitted,
  22
  23   Dated: September 25, 2018               Edwardo Munoz, individually and on behalf
                                               of all others similarly situated,
  24
  25                                     By:    /s/ Patrick H. Peluso
                                               One of Plaintiff’s Attorneys
  26
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   1                            CERTIFICATE OF SERVICE
   2         The undersigned hereby certifies that a true and correct copy of the above
   3   titled document was served upon counsel of record by filing such papers via the
   4   Court’s ECF system on September 25, 2018.
   5                                         /s/ Patrick H. Peluso
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